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                       EXHIBIT 1
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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                  )     CASE NO. 1:17-MD-2804
OPIATE LITIGATION                             )
                                              )     SPECIAL MASTER COHEN
THIS DOCUMENT RELATES TO:                     )
“Track One Cases”                             )
                                              )
                                              )     DISCOVERY RULING NO. 1
                                              )


       In Case Management Order One (“CMO-1”), the MDL Court chose three “Track One” cases

for discovery and trial: (1) The County of Summit, Ohio v. Purdue Pharma L.P., Case No.

18-OP-45090 (N.D. Ohio); (2) The County of Cuyahoga v. Purdue Pharma L.P., Case No.

17-OP-45004 (N.D. Ohio); and (3) City of Cleveland v. AmerisourceBergen Drug Corp., Case No.

18-OP-45132 (N.D. Ohio). The Manufacturer-Defendants served their first set of requests for

production (“RFPs”) on Plaintiffs. Plaintiffs objected to RFPs 6, 7, and 11 and, according to

defendants, “refused to produce entire categories of plainly relevant and responsive documents.”

Letter from Liaison Counsel Mark Cheffo to Special Master David R. Cohen (June 5, 2018)

(“Cheffo letter”).        Accordingly, the undersigned engaged in an on-the-record discovery

teleconference and heard argument regarding these three RFPs. The Special Master now rules on

Plaintiffs’ objections.

       The common theme of the three RFPs at issue is that defendants seek highly detailed

information related to all individuals who received or were harmed by opioids. This includes: (a)

medical records, insurance records, pharmacy records, and test results for “any person [whom]
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Plaintiff claims was harmed in any way by any Defendant;” (b) documents referring to “any

patient[s] whom Plaintiff believes received, obtained, or were harmed by any improper or medically

unnecessary prescription for an Opioid;” and (c) the full history of claims submitted to Medicaid

“for all patients who received” an opioid prescription. RFPs 6, 7, 11.1

       Plaintiffs interpose three principal objections. First, Plaintiffs object that producing

individualized medical information would “cause substantial harm to the strong privacy interests

held by the individuals whose private medical files are legally protected under HIPAA and similar

State laws. Response to RFP 6. The Special Master overrules this objection for the simple reason

that the MDL Court entered a Protective Order, which was negotiated by the parties, that addresses

these concerns. See, e.g. CMO-2 §XII (discussing discovery of “Protected Health Information”)

(docket no. 441). The parties have agreed upon – and, if necessary, can agree upon additional –

procedural mechanisms, such as redaction, to produce the requested discovery while protecting

individuals’ privacy interests.2

       Second, Plaintiffs object that the information requested simply has “no relevance to the

claims and defenses in this litigation.” Response to RFP 6. Plaintiffs explain they are “not claiming

any damages for personal harm suffered by any individual or group of individuals who were

harmed by Defendants’ conduct, and the claims asserted by Plaintiff do not require a showing that


       1
          The full text of RFPs 6, 7, and 11, and Plaintiffs’ responses thereto, is set out at the end
of this Discovery Ruling.
       2
          Plaintiffs recently wrote a letter to defendants setting out what information they believed
they were allowed to “produce in light of the complex set of federal and state statutes, regulations
and case law governing medical privacy, and to determine whether additional safeguards are
necessary,” and “welcom[ing] further discussion.” Letter from David Ackerman to various defense
liaison counsel at 1 (June 11, 2018) (“Ackerman Letter). The Special Master directs the parties to
continue to meet and confer in order to address and resolve these issues.

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any third-party individuals were harmed.”          Id. (emphasis added).      Thus, Plaintiffs’ assert,

Defendants simply do not need “information on every person who received a prescription of opioids,

. . . every person who became addicted to opioids, . . . every ‘improper or medically unnecessary’

opioid that made its way into the [plaintiff] jurisdictions[, and] information on every single . . .

[opioid] prescription that was ever written at any time in the jurisdictions.” Letter from Liaison

Counsel Paul Hanly, Jr. to Special Master David R. Cohen at 15 (July 5, 2018) (“Hanly letter”).

        This objection is largely well-taken: Defendants RFPs are clearly overbroad. See, e.g., RFP

6 (requesting “with respect to any person that Plaintiff claims was harmed in any way by any

Defendant, all Documents concerning each such person’s medical history [and] medical treatment

. . . and any other records relating to the use of any prescription or over-the-counter medications or

illicit drugs”) (emphasis added). The question that remains, however, is to what extent Defendants

are entitled to some of what they seek. Ultimately, this question implicates the issue of causation:

to prove some or all of their claims (and damages flowing therefrom), do Plaintiffs have to show

defendants instigated specific doctors to write individual opioid prescriptions that were improper

or medically unnecessary, and show how that prescription caused harm to the plaintiff jurisdiction?

If so, the individual patient medical records are arguably relevant. Or is it sufficient for Plaintiffs

to adduce aggregate evidence and statistics showing defendants caused doctors’ overall prescribing

practices to become increasingly improper or medically unnecessary? If so, individual patient

medical records are of limited relevance. Plaintiffs state they intend to pursue the latter course. See

Hanly letter at 17 (“Plaintiffs will prove causation through aggregate proof demonstrating the link

between Defendants’ . . . conduct and the exponential increase in prescribing and diversion of

opioids and the resulting harms on a jurisdiction-wide basis.”); id. at 19 (“it is likely that Plaintiffs


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will rely on expert testimony and statistical and aggregate evidence”). There is case law suggesting

this approach may be permitted. See People v. Conagra Grocery Prod. Co., 227 Cal. Rptr. 3rd 499,

557 (Ct. App. 2017) (affirming the trial court’s determination that defendants’ promotion of lead-

based paint for interior residential use caused a public nuisance, and rejecting manufacturers’

contention that they were denied due process when the trial court rejected discovery “to inspect each

individual property and defend against their liability on a residence-by-residence basis.”).3

       The ultimate question of the requisite level of proof is an issue the Court may have to answer

at a future stage of litigation, perhaps through orders resolving summary judgment or Daubert

motions. At this juncture, it is possible only to observe that Plaintiffs’ current discovery productions

must equal or surpass the proofs that will eventually be required. In other words, if Plaintiffs are

correct that statistical and aggregate evidence is sufficient, then Plaintiffs must now produce all

available statistical and aggregate evidence, and enough supporting particulars to allow the Court


       3
           The Conagra Grocery court also noted that discovery into each residence with interior
lead-based paint would be so expensive that it was inappropriate to require plaintiffs to produce it.
See id. at 558 (“Plaintiff established the existence of a public nuisance by proving that these
conditions are pervasive in the 10 jurisdictions, but the enormous cost of discovering each and every
one of the specific locations where remediation is necessary must be borne by the wrongdoers, in
this case defendants.”). Plaintiffs in this case make a similar “cost argument” regarding discovery
of records related to each opioid prescription and patient. See Response to RFP 7 (“Plaintiff objects
that the burden of responding to this Request is not proportional to the needs of the case considering:
(i) the marginal importance of the materials to the claims and defenses in this litigation, and (ii) the
substantial cost to produce responsive materials.”).
         Defendants cite class action cases for the proposition that they are “entitled not only to the
damages information that Plaintiffs choose to produce as part of their damages calculations, but also
to materials that relate to those claimed damages, such that Defendants can evaluate and test
Plaintiffs’ claims.” Cheffo letter at 4, 3 (citing Fox v. Cheminova, Inc., 2006 WL 5080807
(E.D.N.Y. Mar. 1, 2006) and Powell v. Tosh, 2011 WL 13210026 (W.D. Ky. Aug. 2, 2011)). The
Track One cases are not class actions, however, and Conagra rejected class action principles as
support for the contention that aggregate discovery was insufficient. See Conagra, 227 Cal. Rptr.
3rd at 558 (individualized discovery is not appropriate because “[t]his is not a class action, and [like
the Track One cases] no individuals seek to recover anything from defendants.”).

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and Defendants and the parties’ experts to understand the fundamental bases for those statistics and

aggregated data; but Plaintiffs need not produce all discovery regarding every patient or every opioid

prescription. This quantum of evidence is certainly less than what Defendants have requested, but

also much more than nothing at all. Conversely, if Plaintiffs are incorrect, and the Court ultimately

requires more granular proof of causation than Plaintiffs produce in discovery, then Defendants will

rightly point to Plaintiffs’ responses to the RFPs as a basis for defense judgment.

       This leads to Plaintiffs’ third principal objection: the RFPs are “not proportional to the needs

of the case considering: (i) the marginal importance of the materials to the claims and defenses in

this litigation, and (ii) the substantial cost to produce responsive materials.” Response to RFP 11.

The Special Master agrees that, because the RFPs are overbroad, and because retrieving much of

the requested information would be very expensive, the RFPs as drafted are not proportional to the

needs of the case. The Special Master also agrees with Defendants, however, that, at the very least,

aggregate and statistical data addressing the information sought through RFPs 6, 7, and 11 is

relevant. Indeed, Cuyahoga County has already produced charts and analyses of opioid deaths and

overdoses, and has promised more detailed information underlying these summaries, and agrees that

this evidence is relevant.

       In the end, the Special Master cannot simply overrule nor sustain Plaintiffs’ objections.

Defendants request too much, and Plaintiffs have so far produced too little. Rather, the Special

Master can only issue the following directives. Plaintiffs must accelerate their responsive discovery

production, and must produce to defendants all relevant aggregate data and statistics. Plaintiffs must

also undertake a good-faith effort to produce sufficient supporting particularized evidence to allow

Defendants and their experts to understand the fundamental bases for these statistics and aggregated


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data.4 If the parties later have more detailed disputes, the Special Master will address them at that

time. When Plaintiffs later seek to prove causation or damages at trial, whether through expert

testimony regarding a statistical model or otherwise, Plaintiffs may not rely affirmatively or

defensively on any evidence or data they did not produce during discovery.

       Finally, the Special Master notes that ¶9.l.iii of CMO-1 sets out the following requirement:

each Plaintiff in a Track One case “that alleges money damages based upon unnecessary

prescriptions shall identify: (a) the prescriptions that each Plaintiff asserts were medically

unnecessary or medically inappropriate, to whom they were written, and whether Plaintiff

reimbursed for them; (b) the physicians or healthcare providers who wrote the prescriptions; and (c)

Plaintiff’s basis for identifying the prescriptions that it asserts are medically unnecessary or

medically inappropriate.” This requirement remains in place. A plaintiff who fails to fulfill this

requirement: (1) forfeits any claim for money damages based upon unnecessary prescriptions; and

(2) may face argument that the lack of this evidence also breaks a necessary link in the chain of

causation for some or all claims.

               RESPECTFULLY SUBMITTED,

                                                      /s/ David R. Cohen
                                                      David R. Cohen
                                                      Special Master

Dated: June 11, 2018




(RFPs 6, 7, and 11, and Plaintiffs’ responses thereto, are set out in the following pages)


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        Plaintiffs’ recent offer to produce de-identified medical claims data is a good start.
Ackerman Letter at 4-5.

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RFP No. 6
        With respect to any person that Plaintiff claims was harmed in any way by any Defendant,
all Documents concerning each such person’s medical history, medical treatment, medical
examinations, medical tests, therapy, injuries, diagnoses, or medical condition during the last ten
years, including any Health Care Provider’s reports, records, summaries, test results, medical
records, insurance records, pharmacy records, and any other records relating to the use of any
prescription or over-the-counter medications or illicit drugs.

Response to RFP No. 6:
        Plaintiff objects to this request as overly broad and improper in that the materials sought have
no relevance to the claims and defenses in this litigation. Plaintiff is not claiming any damages for
personal harm suffered by any individual or group of individuals who were harmed by Defendants’
conduct, and the claims asserted by Plaintiff do not require a showing that any third-party
individuals were harmed. Moreover, producing such individualized medical information would
waste resources and cause substantial harm to the strong privacy interests held by the individuals
whose private medical files are legally protected under HIPAA and are the subject of this Request.
        To the extent Plaintiff misunderstands the documents and communications sought by this
Request, Plaintiff seeks to resolve these issues during the meet and confer process with Defendants.
Also, the Request is overly broad and unduly burdensome and seeks information beyond Plaintiff’s
possession, custody, and control. Further objecting, the Request contains a reference to several
undefined terms and phrases, namely, “over-the-counter medications” and “illicit drugs.”
        Subject to and without waiving all objections, Plaintiff will comply with the procedure and
deadline as set forth in ¶ 9(l)(iii) of Case Management Order No. 1.

RFP 7
      All Documents and communications identifying, referring to, or concerning any Patient
whom Plaintiff believes received, obtained, or were harmed by any improper or medically
unnecessary prescription for an Opioid.

Response to RFP No. 7:
       Please see Response to Request No. 6.
       Plaintiff objects to this Request to the extent that it calls for information beyond Plaintiff’s
possession, custody, and control. To the extent that there are any non-privileged, responsive
documents in Plaintiff’s possession, custody or control, Plaintiff objects that the burden of
responding to this Request is not proportional to the needs of the case considering: (i) the marginal
importance of the materials to the claims and defenses in this litigation, and (ii) the substantial cost
to produce responsive materials. The materials have marginal—if any—importance to the claims
and defenses in this litigation because Plaintiff is not claiming any damages on behalf of any
individual or group of individuals who were harmed by Defendants’ conduct, and the claims asserted
by Plaintiff do not require a showing that any third-party individuals were harmed. Moreover,
producing such information would cause substantial harm to the strong privacy interests held by the
individuals whose private and legally protected medical files are the subject of this Request.
       Subject to and without waiving all objections, Plaintiff will comply with the procedure and
deadline as set forth in ¶ 9(l)(iii) of Case Management Order No. 1.

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RFP 11
         Participant-level claims data showing the full Medicaid or other Program claims history for
prescriptions and other health care services submitted to Medicaid or any other Program, whether
reimbursed or not, for all Patients who received a prescription for one or more of the Opioids at issue
in this litigation.

Response to RFP No. 11:
         Plaintiff incorporates its answer to RFP No. 6.
         Plaintiff objects to the extent that this Request as overly broad and improper in that it seeks
information protected by statute(s) or ordinance(s) that restrict Plaintiff’s ability to disclose the
requested information. Plaintiff further objects to this Request to the extent that it calls for
disclosure of Privileged and Confidential Information. Plaintiff objects insofar as the Request seeks
information that is not relevant to any party’s claim or defense. Also, the Request contains an
undefined term, “other health care services” and calls for disclosure of Privileged and Confidential
Information. In order to respond to such Request, Plaintiff would have to undertake an incredibly
time consuming and expensive review process and burden not relevant to the claims or proportional
to the needs of discovery.
         To the extent that Plaintiff will seek damages relating to the participant-level claims that are
the subject of this Request, Plaintiff already will provide information that it lawfully may disclose
regarding such claims in response to Request No. 2.
         To the extent Plaintiff does not seek damages relating to such participant-level claims,
Plaintiff objects that the burden of responding to this Request is not proportional to the needs of the
case considering: (i) the marginal importance of the materials to the claims and defenses in this
litigation, and (ii) the substantial cost to produce responsive materials. The materials will have
marginal relevance—if any—should Plaintiff choose not to pursue damages relating to such claims,
because in such circumstance, the individual Program claims submitted by individuals will not be
a factor in proving or defending Plaintiff’s claims. Conversely, there would be substantial cost in
gathering the many thousands of claims and de-identifying the personally identifiable information
that would be necessary for disclosure. Therefore, Plaintiff is unable to produce documents pursuant
to this Request.
         Subject to and without waiving all objections, Plaintiff will comply with the procedure and
deadline as set forth in ¶ 9(l)(iii) of Case Management Order No. 1.




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